 1                  & Brady LLP
               Firm State Bar No. 00443100
                     Renaissance One
 2              Two North Central Avenue
               Phoenix, Arizona 85004-2391
 3              TELEPHONE 602.229.5200


 4   Attorneys for MPT of Florence, LLC

 5   Robert P. Harris (#011523)
     robert.harris@quarles.com
 6   Elizabeth S. Fella (#025236)
     elizabeth.fella@quarles.com
 7
                                IN THE UNITED STATES BANKRUPTCY COURT
 8
                                             FOR THE DISTRICT OF ARIZONA
 9
     In re:                                                         In Proceedings Under Chapter 11
10
     FLORENCE HOSPITAL AT ANTHEM, LLC,                              Case No. 4:18-bk-04537-BMW
11

12                           Debtor.

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14
     MPT OF FLORENCE, LLC,                                        EMERGENCY MOTION FOR ORDER
15                                                                GRANTING STAY RELIEF
                             Movant,
16
               v.
17
     FLORENCE HOSPITAL AT ANTHEM, LLC,
18
                              Respondent.
19

20             This emergency Motion is filed by MPT OF FLORENCE, LLC ("MPT").1                                    MPT

21   previously leased to FLORENCE HOSPITAL AT ANTHEM, LLC (the "Debtor") certain real

22   property and improvements comprising the hospital facility located at 4545 N. Hunt Highway,

23   Florence, Arizona 85132 (defined below as the "Leased Premises") pursuant to the Florence

24   Lease (defined below). The last monthly rent payment that the Debtor made under the Florence

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               MPT has filed a separate motion requesting that the Court schedule an expedited preliminary hearing on this
26   Motion.




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                                                     1   Lease was for the month of August, 2017. On February 13, 2018, MPT terminated the Florence

                                                     2   Lease based on the Debtor's failure to make its monthly rent payments due under the Florence

                                                     3   Lease, together with various other monetary and non-monetary defaults thereunder. Since the

                                                     4   lease termination, the Debtor wrongfully remains in possession of the Leased Premises as a

                                                     5   holdover tenant.

                                                     6          Through this Motion, MPT requests immediate relief from the automatic stay pursuant to
                                                     7   Bankruptcy Code §362(d) so that MPT may (i) exercise its rights and remedies with respect to the
                                                     8   Leased Premises under applicable law, including without limitation proceeding with the FED
                                                     9   Action (defined below) and implementing a plan to transition operations at the Leased Premises
                                                    10   to a financially viable operator, and (ii) exercise its rights and remedies with respect to the
                                                    11   Debtor's assets in which MPT holds perfected and enforceable security interests (the "MPT
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                                                    12   Collateral"). Further, given the hopeless financial condition of the Debtor's business operations,
                                                    13   it is necessary and appropriate for the Court to consider this Motion on an expedited basis.
                                                    14          MPT is entitled to stay relief for cause pursuant to Section 362(d)(1) because MPT's
                                                    15   interests in the Leased Premises and the MPT Collateral are not being adequately protected, but
                                                    16   rather are being held hostage by the Debtor and Petitioning Creditors despite the fact that the
                                                    17   Debtor has no interest or right in or to the Leased Premises. MPT also is entitled to stay relief
                                                    18   pursuant to Section 362(d)(2) because the Debtor lacks equity in the Leased Premises (which is
                                                    19   owned by MPT and for which the Debtor has no property interest or rights) and the MPT
                                                    20   Collateral, and, given the Debtor's interest as a holdover tenant of the Leased Premises, neither
                                                    21   the Debtor's rights in the Leased Premises nor the MPT Collateral are necessary to any effective
                                                    22   reorganization that has any legitimate prospect.
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                                                     1          This Motion is supported by the attached Memorandum of Points and Authorities and the
                                                     2   entire record before the Court in this Bankruptcy Case and the entire record before the Court in
                                                     3   the Debtor's previous Chapter 11 case.
                                                     4          RESPECTFULLY SUBMITTED this 1st day of May, 2018.
                                                     5                                                    QUARLES & BRADY LLP
                                                                                                          Renaissance One
                                                     6                                                    Two North Central Avenue
                                                                                                          Phoenix, AZ 85004-2391
                                                     7

                                                     8
                                                                                                          By /s/ Robert P. Harris
                                                     9                                                           Robert P. Harris
                                                                                                                 Elizabeth S. Fella
                                                    10
                                                                                                          Attorneys for MPT of Florence, LLC
                                                    11
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                                                     1                       MEMORANDUM OF POINTS AND AUTHORITIES

                                                     2   I.     INTRODUCTION

                                                     3                  This bankruptcy filing represents the second bankruptcy of the Debtor before this

                                                     4   Court. On March 6, 2013, the Debtor commenced a voluntary Chapter 11 case that remains

                                                     5   pending. See Bankruptcy Case No. 4:13-bk-03201-BMW ("Florence Bankruptcy I"). In Florence

                                                     6   Bankruptcy I, a plan of reorganization (the "Plan") involving both the Debtor and Gilbert

                                                     7   Hospital, LLC ("Gilbert" or "GH") was confirmed and went effective on February 29, 2016. As

                                                     8   discussed below, the reorganization confirmed in the Plan has failed completely. Now, the

                                                     9   Debtor comes before the Court through an involuntary bankruptcy petition, and is on the brink of

                                                    10   complete shutdown.

                                                    11          This time, however, the Debtor has created a true emergency situation necessitating
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                                                    12   immediate action by this Court given that the Debtor is on the brink of collapse which will result

                                                    13   in untold harm to employees, patients, creditors and the community. The Debtor has proven

                                                    14   unquestionably that it cannot operate profitably, even with the benefits and protections of its prior

                                                    15   bankruptcy case and restructured debt under the Plan. It is likely that in a very short timeframe,

                                                    16   the Debtor will be unable to make payroll, its vendors will stop shipment of critical supplies and

                                                    17   medicines, and its consulting and practicing physicians will no longer affiliate or refer patients.

                                                    18   In fact, Debtor's CFO has represented to MPT that it will have to close the hospital if it cannot

                                                    19   close on a sale transaction with a third party by mid-June 2018 (which cannot occur because the

                                                    20   Debtor has no interest in the Leased Premises to sell).

                                                    21          Compared to the Debtor's illusory sale plan, only MPT has a realistic solution to

                                                    22   continue operations of a hospital at the Leased Premises. The Court should grant MPT

                                                    23   immediate stay relief to allow implementation of a transition plan to secure a replacement

                                                    24   operator before the hospital closes, many people lose their jobs unnecessarily, the health, safety

                                                    25   and welfare of the patients are jeopardized, and the community is left without adequate access to

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                                                     1   hospital care. This solution by MPT will enable a transition plan to be implemented to keep the

                                                     2   hospital fully operational. However, MPT needs immediate and emergency relief from stay.

                                                     3          A.      Debtor's History of Default and Broken Promises.

                                                     4          Throughout the history of the Florence Lease, the Debtor has been unable to consistently

                                                     5   remain in compliance with the terms and conditions of the Florence Lease. Even after confirming

                                                     6   the Plan and executing the Amendment to Lease Agreement, Debtor again failed to abide by the

                                                     7   terms of the Florence Lease. Beginning in March 2017, the Debtor began paying rent late and

                                                     8   stopped paying rent altogether under the Florence Lease in September 2017. The Debtor also

                                                     9   failed to pay other amounts due under the Florence Lease, including payment of real property

                                                    10   taxes. Numerous other uncured breaches exist under the Florence Lease.

                                                    11          MPT patiently engaged with the Debtor, and spent a lot of time and effort working with
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                                                    12   the Debtor to cure the defaults under the Florence Lease, all to no avail. Debtor failed to provide

                                                    13   a solution to the mounting past due amounts due under the Florence Lease. As a result, on

                                                    14   February 13, 2018, MPT sent the Notice of Termination (defined below in Section 7), in which

                                                    15   MPT advised Debtor that the Florence Lease was terminated immediately and requested that

                                                    16   Debtor contact MPT to discuss plans for an orderly transition of the Leased Premises to MPT.

                                                    17          Debtor did not agree to an orderly transition the Leased Premises to MPT in response to

                                                    18   the Notice of Termination. Accordingly, on March 8, 2018, MPT sent the Demand to Vacate

                                                    19   (defined below in Section 8) demanding that Debtor vacate the Leased Premises and arrange for

                                                    20   an orderly transition of the Leased Premises. Again, the Debtor refused to cooperate with MPT in

                                                    21   efforts to save the hospital. Rather, the Debtor is soliciting investors to effect a "sale" transaction

                                                    22   despite the fact that the Debtor has no rights in the Leased Premises. Even if the Debtor had an

                                                    23   interest in the Leased Premises, which it does not, there is absolutely no hope that the Debtor will

                                                    24   ever be able to profitably operate a hospital. This Court has seen first-hand the long history of

                                                    25   failure by the Debtor and its principals. The Debtor is good at making promises--including

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                                                     1   multiple promises to vendors, creditors, MPT, this Court--however almost all are immediately

                                                     2   broken. It is no surprise that Johns (defined below) is one of the Petitioning Creditors, as he is the

                                                     3   common element with the Debtor's prior failures and promises. Simply put, nothing has changed

                                                     4   with this Debtor. The same organizational, financial and governance chaos so evident in Florence

                                                     5   Bankruptcy I remains in place.

                                                     6          B.      Debtor Has No Right or Interest to the Leased Premises.

                                                     7          Based on Debtor's failure to engage in an orderly transition of operations and vacate the

                                                     8   Leased Premises, MPT filed a forcible entry and detainer action (the "FED Action") in Pinal

                                                     9   County Superior Court (the "State Court") on April 11, 2018. This involuntary bankruptcy case
                                                    10   was filed on the eve of the State Court's hearing on MPT's FED complaint, which had been
                                                    11   scheduled for April 30, 2018.
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                                                    12          A new Chapter 11 process of the Debtor is doomed to failure because the Debtor has no
                                                    13   right to continue operating any business at the Leased Premises.          The Florence Lease was
                                                    14   terminated more than two months before the current bankruptcy filing, and the Debtor thus has no
                                                    15   right to remain on the Leased Premises.        The Debtor remains in possession of the Leased
                                                    16   Premises only as a holdover tenant. The Debtor has no business to either sell or reorganize in this
                                                    17   new Chapter 11 case.
                                                    18          C.      MPT's Transition Plan.

                                                    19          While the Debtor only offers failed operations, broken promises and illusory plans, MPT

                                                    20   wants to pursue an option that offers realistic hope for employees, patients, vendors, service

                                                    21   providers, physicians and the community that the hospital might remain open and operated by a

                                                    22   competent, experienced, financially sound hospital company. Such a transition cannot happen,

                                                    23   however, if the Debtor is allowed to continue operating and is thereafter forced to close the

                                                    24   hospital (most likely when the Debtor is unable to meet its payroll in the very near future).

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                                                     1           Given the significant concerns regarding the Debtor's financial distress and continued

                                                     2   operation of business at the Leased Premises, including without limitation, concerns about the

                                                     3   health, safety, and welfare of the patients at the hospital and payment of obligations for running

                                                     4   the Leased Premises, MPT should be allowed to exercise its rights and transition the Leased

                                                     5   Premises to a new, competent and financially viable replacement operator.                          Under these

                                                     6   circumstances, the Court should grant stay relief to MPT to allow MPT to exercise its rights and

                                                     7   remedies in the Leased Premises as requested in the Motion.

                                                     8   II.     BACKGROUND.

                                                     9           1.       On April 25, 2018 (the "Petition Date"), Mr. Wes Richardson, Dr. Timothy Johns
                                                    10   ("Johns"), Dr. Zubait Tahir (collectively, the "Petitioning Creditors") filed an involuntary petition
                                                    11   against the Debtor commencing the above-captioned Bankruptcy Case (the "Involuntary Case").
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                                                    12   The Debtor has not yet answered the involuntary petition, although the Debtor accepted service.
                                                    13   See Dkt. 4.
                                                    14           2.       This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157(b) and
                                                    15   1334. This Motion presents a core proceeding as defined in 28 U.S.C. § 157(b)(2).
                                                    16           3.       On or about November 4, 2010, MPT, as Lessor, and the Debtor, as Lessee,
                                                    17   entered into a Lease Agreement (as amended, modified or restated from time to time, including
                                                    18   without limitation the Florence Lease Amendment (defined below), collectively, the "Florence

                                                    19   Lease").2 Under the Florence Lease, MPT leased to the Debtor certain land and improvements as

                                                    20   described in the Florence Lease (the "Leased Premises") under the terms and conditions stated

                                                    21   therein. A copy of the Florence Lease is attached to this Motion as Exhibit A.

                                                    22           4.       On March 6, 2013, Debtor commenced Florence Bankruptcy I. On January 8

                                                    23   2014, the Debtor and MPT filed with this Court a Stipulation and Agreement Regarding Debtor’s

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                                                                  Unless stated otherwise herein, terms defined in the Florence Lease will have the same meanings when used
                                                         in this Motion.
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                                                     1   Assumption of Real Property Lease and Related Matters [Florence Bankruptcy I, Dkt. 432] (the

                                                     2   "Lease Stipulation"), which the Court approved in an Order dated March 10, 2014 [Florence

                                                     3   Bankruptcy I, Dkt. 494] (the "Lease Assumption Order"). A copy of the Lease Stipulation is

                                                     4   attached to this Motion as Exhibit B. A copy of the Lease Assumption Order is attached to this

                                                     5   Motion as Exhibit C.

                                                     6           5.      Under the terms and conditions of the Lease Stipulation, the Debtor agreed, and

                                                     7   under the Lease Assumption Order the Court adjudicated, that (i) the Florence Lease is a true

                                                     8   lease, (ii) MPT is the owner of the Leased Premises, (iii) the Debtor's only rights and interests in

                                                     9   the Leased Property are its rights and interests as lessee under the Florence Lease; and (iv) the

                                                    10   transactions under the Florence Lease are not secured financing transactions. In accordance with

                                                    11   the Lease Stipulation, and pursuant to the Lease Assumption Order, the Debtor assumed the
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                                                    12   Florence Lease.

                                                    13           6.      In Florence Bankruptcy I, the Court approved and confirmed the joint Plan of

                                                    14   reorganization of the business and affairs of the Debtor and Gilbert. The Plan became effective

                                                    15   on February 19, 2016. In conjunction with the Plan effective date, MPT and the Debtor executed

                                                    16   an amendment to the Florence Lease (the "Florence Lease Amendment"). A copy of the Florence

                                                    17   Lease Amendment is attached to this Motion as Exhibit D. The Florence Lease, as amended,
                                                    18   expressly authorizes MPT to exercise its contractual and statutory enforcement rights in the event

                                                    19   of a default.

                                                    20           7.      Since the Plan effective date, the Debtor was required to pay various obligations to

                                                    21   MPT under the Florence Lease, including, among other things, base rent payments of more than

                                                    22   $290,000 per month, which increased annually thereafter. The last monthly rent payment the

                                                    23   Debtor made to MPT was for August, 2017. The Debtor has defaulted under various other

                                                    24   payment obligations under the Florence Lease, including without limitation payment of real estate

                                                    25   taxes. After numerous default notices by MPT to the Debtor based on the many uncured defaults

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                                                     1   under the Florence Lease, MPT terminated the Florence Lease as described in that certain Notice

                                                     2   of Termination date February 13, 2018 (the "Notice of Termination"). A copy of the Notice of

                                                     3   Termination is attached to this Motion as Exhibit E. Among other things, MPT requested that the

                                                     4   Debtor contact MPT to discuss the Debtor's plan for an orderly transition of the Leased Premises.

                                                     5          8.      After the Debtor failed to cooperate with MPT to transition operations, MPT

                                                     6   delivered to the Debtor a Demand to Vacate the Leased Premises on March 8, 2018 (the "Demand

                                                     7   to Vacate"). A copy of the Demand to Vacate is attached hereto as Exhibit F. The Debtor,

                                                     8   however, still failed to vacate the Leased Premises.

                                                     9          9.      On April 11, 2018, MPT commenced the FED Action requesting immediate

                                                    10   possession of the Leased Premises. A copy of the complaint initiating the FED Action is attached

                                                    11   hereto as Exhibit G. The State Court set a hearing on MPT’s FED complaint for April 30, 2018
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                                                    12   (the "FED Hearing"). The Involuntary Case was filed on the eve of the FED Hearing.

                                                    13          10.     An MPT affiliate, MPT of Gilbert, LLC (“MPT of Gilbert”), is the owner and
                                                    14   landlord of the hospital facility operated by GH. MPT of Gilbert also terminated its lease with GH
                                                    15   in February 2018. MPT of Gilbert filed a similar FED action against GH on April 10, 2018, in
                                                    16   Maricopa County Superior Court, based on GH’s refusal to surrender the leased facility after the
                                                    17   lease had been terminated. A hearing on the FED action involving GH was scheduled for April
                                                    18   26, 2018. Similar to the Debtor, certain creditors of GH, including Johns, filed an involuntary

                                                    19   bankruptcy case against GH on April 25, 2018.

                                                    20                  11.    The termination of their respective leases is not the only problem facing the

                                                    21   Debtor and GH. It appears that both have failed to make payments to their primary secured

                                                    22   creditor, Indigo-DLI Holdings I, LLC (“Indigo”), for many months. On April 6, 2018, Indigo

                                                    23   filed a receivership action against the Debtor, GH, and their parent, New Vision Health, LLC

                                                    24   (“NVH”), in Maricopa County Superior Court, which the defendants therein subsequently

                                                    25   removed to this Court, and which Indigo thereafter moved to remand. In its receivership action,

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                                                     1   Indigo alleges that the Debtor and GH have defaulted under the terms of their loan agreement

                                                     2   with Indigo, and that those defaults also remain uncured and unwaived. Upon information and

                                                     3   belief, MedHost has provided billing and medical record services to both the Debtor and GH.

                                                     4   Following many defaults under the respective agreements, MedHost terminated their agreements

                                                     5   in January 2018, with the Debtor and GH and stopped providing billing services. It is therefore

                                                     6   unclear how the Debtor and GH are billing and recovering reimbursement for services provided at

                                                     7   the hospitals.

                                                     8   III.   ARGUMENT.

                                                     9          Bankruptcy Code § 362(d) sets forth independent and alternative grounds for relief from
                                                    10   the automatic stay. Relief from the automatic stay shall be granted “for cause,” including,
                                                    11   without limitation, lack of adequate protection. See 11 U.S.C. § 362(d)(1). In addition, a creditor
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                                                    12   with an interest in property is entitled to relief from the automatic stay if: (i) the debtor lacks
                                                    13   equity in the property; and (ii) the property is not necessary for an effective reorganization that is
                                                    14   in prospect. See 11 U.S.C. § 362(d)(2); United Sav. Ass’n. of Texas v. Timbers of Inwood Forest
                                                    15   Assoc., Ltd., 484 U.S. 365, 375-76 (1988). As discussed below, MPT is entitled to relief from
                                                    16   stay under both prongs of the statute.
                                                    17          The grounds for relief set forth in Bankruptcy Code § 362(d) are independent and
                                                    18   alternative. See 11 U.S.C. § 362(d)(1)-(3); In re Sun Valley Ranches, Inc., 823 F.2d 1373, 1376

                                                    19   (9th Cir. 1987) (the provisions of Section 362(d) are disjunctive and stay relief may be granted if

                                                    20   any provision applies); In re Duvar Apt., Inc., 205 B.R. 196 (B.A.P. 9th Cir. 1996). The moving

                                                    21   party has the burden of proof only on the issue of the debtor’s lack of equity in the property under

                                                    22   Section 362(d)(2). See 11 U.S.C. § 362(g)(1). Debtor has the burden of proof with respect to all

                                                    23   other issues raised by this Motion. See id. § 362(g)(2); In re Gauvin, 24 B.R. 578, 580 (B.A.P.

                                                    24   9th Cir. 1982), accord In re Jordan, 392 B.R. 428, 450 n.40 (Bankr. D. Idaho 2008). Applying the

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                                                     1   foregoing standard, MPT is entitled to stay relief under each of the independent grounds for relief

                                                     2   set forth in Sections 362(d)(1) and (d)(2).

                                                     3            A.     MPT Is Entitled to Stay Relief for "Cause" Under Bankruptcy Code
                                                                         § 362(d)(1).
                                                     4
                                                                  Pursuant to Bankruptcy Code § 362(d)(1), relief from the automatic stay must be granted
                                                     5
                                                         for “cause,” which includes, but is not limited to, lack of adequate protection. 11 U.S.C. §
                                                     6
                                                         362(d)(1).     “Cause” is not defined in the Bankruptcy Code and is determined by the
                                                     7
                                                         circumstances of a particular case. See In re Conejo Enters., Inc., 96 F.3d 346, 352 (9th Cir.
                                                     8
                                                         1996).    Courts may exercise discretion in determining whether cause exists for lifting the
                                                     9
                                                         automatic stay under Section 362(d)(1). See In re Beguelin, 220 B.R. 94, 98 (B.A.P. 9th Cir.
                                                    10
                                                         1998) (citing In re Tucson Estates, Inc., 912 F.2d 1162, 1199 (9th Cir. 1990)). The burden of
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                                                         proof is on the Debtor to establish that a creditor’s interest is adequately protected. See 11 U.S.C.
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                                                         § 362(g)(2).
                                                    13
                                                                  In this case, the Debtor continues to occupy the Leased Premises after the termination of
                                                    14
                                                         the Florence Lease as holdover tenant without any adequate protection for MPT's interests.
                                                    15
                                                         Particularly given the Debtor's historical performance both before, during and following plan
                                                    16
                                                         confirmation in Florence Bankruptcy I, including its ongoing losses and failures even after the
                                                    17
                                                         benefit of restructuring its debt in Florence Bankruptcy I, there is no credible argument that the
                                                    18
                                                         Debtor can provide adequate protection to MPT. Quite the contrary, the Debtor's continued
                                                    19
                                                         operation of the hospital at the Leased Premises only increases the risk to MPT, as the Debtor
                                                    20
                                                         approaches nearer and nearer to a complete shutdown. Accordingly, MPT is entitled to stay relief
                                                    21
                                                         under Section 362(d)(1).
                                                    22
                                                                  B.     MPT Is Entitled to Stay Relief Under Bankruptcy Code § 362(d)(2)
                                                    23                   Because the Debtor Lacks Equity in the Leased Premises, and the
                                                                         Leased Premises Are Not Necessary To An Effective Reorganization.
                                                    24

                                                    25            Pursuant to Section 362(d)(2), stay relief must be granted where: (i) the debtor lacks

                                                    26   equity in the subject property, and (ii) the property is not necessary for an effective




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                                                     1   reorganization. See 11 U.S.C. § 362(d)(2). The Debtor holds no right or interest in the Leased

                                                     2   Premises and therefore cannot satisfy either element of §362(d)(2).

                                                     3            In this case, the grounds for relief under Section 362(d)(2) are clear. The Debtor lacks

                                                     4   equity in the Leased Premises (which is owned by MPT and for which the Debtor has no property

                                                     5   interest or rights). Moreover, given the Debtor's only interest is as a holdover tenant of the

                                                     6   Leased Premises, the Debtor's rights in the Leased Premises (if any) are not necessary to any

                                                     7   effective reorganization that has any legitimate prospect. Stay relief under Section 362(d)(2)

                                                     8   should be granted.

                                                     9   IV.      CONCLUSION

                                                    10            Based on the foregoing and the entire record before the Court, MPT hereby requests an
                                                    11   Order:
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                                                    12            A.     Terminating the automatic stay so that MPT may pursue its rights and remedies
                                                    13   with respect to the Leased Premises under the Florence Lease and applicable law without further
                                                    14   order of the Court, including without limitation proceeding with the FED Action, and (ii) the
                                                    15   MPT Collateral;
                                                    16            B.     Directing that the provisions of Bankruptcy Rule 4001(a)(3) are waived such that
                                                    17   the Order shall be effective and enforceable immediately upon entry; and
                                                    18            C.     Granting MPT such other and further relief as the Court deems just and property

                                                    19   under the facts and circumstances of this case.

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                                                     1          A copy of a proposed form of Order is attached hereto as Exhibit H.

                                                     2          RESPECTFULLY SUBMITTED this 1st day of May, 2018.

                                                     3                                                    QUARLES & BRADY LLP
                                                                                                          Renaissance One
                                                     4                                                    Two North Central Avenue
                                                                                                          Phoenix, AZ 85004-2391
                                                     5

                                                     6
                                                                                                          By   /s/ Robert P. Harris
                                                     7                                                            Robert P. Harris
                                                                                                                  Elizabeth S. Fella
                                                     8
                                                                                                          Attorneys for MPT of Florence, LLC
                                                     9

                                                    10   COPIES of the foregoing sent via
                                                         e-mail this 1st day of May, 2018, to:
                                                    11
Quarles & Brady LLP




                                                         Gerald Shelley
                      Phoenix, Arizona 85004-2391




                                                    12   FENNEMORE CRAIG P.C.
                                                         2394 E. Camelback Road, Suite 600
                                                    13   Phoenix, AZ 85016
                                                         Email: gshelley@fclaw.com
                                                    14
                                                         Philip G. Mitchell
                                                    15   THE CAVANAGH LAW FIRM
                                                         1850 N. Central Avenue, Suite 2400
                                                    16   Phoenix, AZ 85004
                                                         Email: pmitchell@cavanaghlaw.com
                                                    17   Attorneys for Petitioning Creditors

                                                    18   Kyle S. Hirsch
                                                         Julie M. Birk
                                                    19   BRYAN CAVE LEIGHTON PAISNER LLP
                                                         Two N. Central Avenue, Suite 2100
                                                    20   Phoenix, AZ 85004-4406
                                                         Email: kyle.hirsch@bclplaw.com
                                                    21   Email: julie.birk@bclplaw.com
                                                         Attorneys for Indigo-DLI Holdings I, LLC
                                                    22

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                                                     1   Thomas J. Salerno
                                                         Alisa C. Lacey
                                                     2   Anthony P. Cali
                                                         STINSON LEONARD STREET LLP
                                                     3   1850 N. Central Avenue, Suite 2100
                                                         Phoenix, AZ 85004-4584
                                                     4   Email: thomas.salerno@stinson.com
                                                         Email: jeffrey.goulder@stinson.com
                                                     5   Email: anthony.cali@stinson.com
                                                         Attorneys for David Gottlieb, Trustee of the
                                                     6   Gilbert Hospital Unsecured Creditors Trust

                                                     7   Office of the U.S. Trustee
                                                         230 N. First Avenue, Suite 204
                                                     8   Phoenix, AZ 85003

                                                     9
                                                         /s/ Sybil Taylor Aytch
                                                    10

                                                    11
Quarles & Brady LLP
                      Phoenix, Arizona 85004-2391




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